           Case 2:14-cr-00024-RAJ          Document 14        Filed 04/02/14     Page 1 of 3




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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR14-024-RAJ
 9

10                                 Plaintiff,

11          v.                                            DETENTION ORDER

12   DICKSON LEE,
13
                                   Defendant.
14

15   Offense charged:
16          Counts 1-6:     Securities Fraud, in violation of 18 U.S.C. §§ 1348, and 2.
17
            Counts 7-9      False Certification of Financial Reports by Corporate Officer, in
18                          violation of 18 U.S.C. §§ 1350(c)(1) and (c)(2) and 2.

19          Count 10        False SEC Filing, in violation of 18 U.S.C.§§ 78m(a) and 77 ff, and 18
                            U.S.C. § 2.
20
     Date of Detention Hearing: April 1, 2014.
21
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
22
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
23
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
            (1)     Defendant poses a substantial risk of flight that cannot be diminished by means
25
                    short of detention.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:14-cr-00024-RAJ         Document 14        Filed 04/02/14      Page 2 of 3




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           (2)   Although defendant is a United States citizen, he has relatively insubstantial ties
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                 to the Western District of Washington and to the United States.
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           (3)   During the past 12 months, defendant has been in the United States for only 39
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                 days. He spends most of his time in Taiwan or China.
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           (4)   Defendant is severing his ties with the company that is the target of the SEC
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                 investigation, providing even fewer ties to the United States and fewer
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                 incentives to remain in the United States.
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           (5)   Defendant has sent substantial money abroad.
 9
           (6)   Defendant has substantial family and business ties to Taiwan and China. These
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                 include a comfortable home in Taiwan with his girlfriend and two minor
11
                 children from that relationship. China is also the situs of the bulk of
12
                 defendant’s business activities.
13
           (7)   There are no conditions or combination of conditions other than detention that
14
                 will reasonably assure the appearance of defendant as required.
15
           IT IS THEREFORE ORDERED:
16
           (1)   Defendant shall be detained and shall be committed to the custody of the
17
                 Attorney General for confinement in a correction facility separate, to the extent
18
                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
21
                 counsel;
22
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
24
                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
         Case 2:14-cr-00024-RAJ          Document 14       Filed 04/02/14      Page 3 of 3




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           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
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                  counsel for the defendant, to the United States Marshal, and to the United States
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                  Pretrial Services Officer.
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           DATED this 1st day of April, 2014.
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 6                                              AJAMES P. DONOHUE
 7                                               United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 3
